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AG 91 (Rey, 11/11) Crimina? Complaint

UNITED STATES DISTRICT COURT
for the ORIGINAL FILED

Distriet of New Jersey

 

 

 

 

 

 

 

 

FEB 07 2020
United States of America )
Vv. tc
Case No. WILLIAM T WALSH CLERK
Kayla Massa 20-5518 (KMW
)
— )
Defendants)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of See Attachment A in the county of in the
District of New Jersey , the defendant(s) violated:
Code Section Description of Offenses
18 U.S.C Section 1349 Conspiracy to committ bank fraud and wire fraud.

See Attachment A hereto.

This criminal complaint is based on these facts:

See Attachment B hereto.

i Continued on the attached sheet. (? Cy)
Complainant’s signature

Caitlin Piasecki, Postal Inspector
Printed name and litle

 

Sworn to before me and signed in my presence,

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Date: 92/07/2020, “Tg SO Ww NOR cg cL
i \ Os Judge's signature. . bo

City and state: Camden, New Jersey Hon. Karen M. Williams, U.S. Magisirate Judge

Printed name and titfe. i
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CONTENTS APPROVED
UNITED STATES ATTORNEY

» ALA—

ALISA SHVER
Assistant U.S. Attorney

 

Date: February 7, 2020

 

 
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Attachment A

(Conspiracy to Commit Bank Fraud and Wire Fraud)

From on or about May 4, 2018 through in or about February, 2020, in the District of New Jersey,
and elsewhere, the defendant,

KAYLA MASSA

did knowingly and intentionally conspire and agree with others, known and unknown, to devise a
scheme and artifice to defraud financial institutions and the United States, and to obtain money and
property by means of materially false and fraudulent pretenses, representations, and promises, and for
the purpose of executing such scheme and artifice: (1) to cause to be transmitted by means of wire
communications in interstate and foreign commerce, certain signs, signals, and sounds, contrary to Title
18, United States Code, Section 1343; (2) to defraud a financial institution by means of materially false
and fraudulent pretenses, representations, and promises, contrary to Title 18, United States Code,
Section 1344, as described in Attachment B.

In violation of Title 18, United States Code Section 1349,
